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          Exhibit C
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                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,
                                                          Case No. 1:18-cv-00950-LO-JFA
v.

COX COMMUNICATIONS, INC., et al.,

         Defendants.



                            COX’S FIRST SUPPLEMENTAL RESPONSES

                TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION

                         OF DOCUMENTS AND THINGS TO DEFENDANTS


            PROPOUNDING PARTIES: PLAINTIFFS

            RESPONDING PARTIES: Defendants Cox Communications, Inc. and CoxCom LLC

            SET NUMBER: ONE (NOS. 1-66)

            In accordance with Rules 26 and 34 of the Federal Rules of Civil Procedure and Civil

     Local Rule 26(b) and (c), Defendants Cox Communications, Inc. and CoxCom LLC (collectively,

     “Cox”) supplement their responses to Plaintiffs’ First Set of Requests for Production of

     Documents and Things as follows. Cox’s supplemental responses are made solely for the

     purposes of this litigation. Cox’s supplemental responses are based upon a reasonable search,

     given the time allotted to respond to the requests, of facilities and files that could reasonably be

     expected to contain responsive information, and inquiries of Cox’s employees and/or

     representatives who could reasonably be expected to possess responsive information. Cox’s



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  investigation into the facts of this case is ongoing and not yet completed, and Cox reserves the

  right to further supplement or amend its responses and objections to the extent allowed by the

  Federal Rules of Civil Procedure, the Local Rules, and the orders of this Court.

                                  COX’S GENERAL OBJECTIONS

          1.     Cox objects to the requests to the extent that they call for extensive electronic

  production as overly broad, unduly burdensome, and oppressive. Where appropriate, Cox reserves

  the right to seek cost-shifting for costs associated with electronic production of data stored in

  inaccessible or difficult or costly to access formats, and where otherwise appropriate.

          2.     Cox objects to Plaintiffs’ Definitions and Instructions to the extent they purport to

  impose any requirement or discovery obligation on Cox other than those set forth in the Federal

  Rules of Civil Procedure and the applicable rules of this Court, and to the extent they purport to

  require Cox to object, respond, or produce documents before the time provided by the Federal

  Rules of Civil Procedure, the Local Rules, and the applicable rules of this Court. Given the breadth

  and scope of the requests, Cox will produce non-objectionable responsive documents on a rolling

  basis, beginning within 30 days of service of the requests.

          3.     Cox objects to the definition of the term “MarkMonitor” as overbroad and unduly

  burdensome, and as vague and ambiguous, because Cox lacks knowledge of the “parents,

  subsidiaries, affiliates, officers, directors, agents, consultants, employees, attorneys and

  accountants, and/or any other person or entity currently or previously acting or purporting to act

  on [the] behalf” of the identified entities.

          4.     Cox objects to the definition of the term “Infringement Notice” as vague and

  ambiguous, as argumentative, as improperly incorporating a legal conclusion, and as requiring

  Cox to speculate as to the existence and ownership of unidentified copyrights, and as to whether a



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  particular notification was made “pursuant to” the DMCA.

         5.     Cox objects to the definition of the terms “person” or “persons” as overbroad and

  unduly burdensome, vague, and ambiguous, in particular to the extent that it purports to require

  Cox to collect or produce documents from a “person’s successors, assigns, personal

  representatives, and heirs, by operation of law or otherwise.”

         6.     Cox objects to Plaintiffs’ instruction concerning privileged information, documents,

  or communications, to the extent that instruction purports to impose any requirement or discovery

  obligation on Cox other than those set forth in the Federal Rules of Civil Procedure and the

  applicable rules of this Court.

         7.     Cox objects to Plaintiffs’ attempt to define the default “relevant time frame” of these

  requests as spanning the period from January 1, 2010 through December 31, 2014. Plaintiffs have

  expressly limited the time period of their claims in this litigation to the period between February

  2013 and November 2014 (“Plaintiffs’ Claim Period”).

                         COX’S FIRST SUPPLEMENTAL RESPONSES
               TO PLAINTIFFS’ REQUESTS FOR PRODUCTION (SET ONE)

  REQUEST NO. 1

         All documents produced by Defendants in the BMG Litigation, bearing the bates

  numbers and/or exhibit numbers used in the BMG Litigation.

  RESPONSE TO REQUEST NO. 1

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because the request seeks information on issues

  that are irrelevant to this case, including but not limited to notices regarding works asserted by

  BMG Rights Management (US) LLC (“BMG”) and Round Hill Music LP (“Round Hill”)



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  (collectively, the “BMG Plaintiffs”) and responses thereto; the DMCA; affirmative defenses not

  at issue here; works not at issue here; entities that are not parties to this litigation; and documents

  concerning information outside Plaintiffs’ Claim Period. Cox further objects to this request to the

  extent it purports to require Cox to disclose trade secrets or other confidential or proprietary

  information before a protective order is entered, and to the extent it improperly seeks information

  protected from disclosure by the attorney-client privilege or other applicable privilege or

  doctrine. Cox further objects that, to the extent this request seeks documents relevant to this

  litigation, it unnecessarily duplicates Plaintiffs’ other requests, including Plaintiffs’ requests for

  production nos. 6 through 66, and Plaintiffs’ interrogatories nos. 1 through 12.

  REQUEST NO. 2

          All exhibits used, referenced or introduced during the 2015 trial in the BMG Litigation,

  bearing the bates numbers and/or exhibit numbers used in the BMG Litigation, regardless of

  whether such exhibits were admitted into evidence. This request specifically includes

  demonstrative exhibits presented at the trial by any party.

  RESPONSE TO REQUEST NO. 2

          Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because the request seeks information on issues

  that are irrelevant to this case, including but not limited to the DMCA; affirmative defenses not

  at issue here; works not at issue here; entities that are not parties to this litigation; and documents

  concerning information outside Plaintiffs’ Claim Period. Cox further objects to this request to the

  extent it seeks documents that are protected by and subject to a protective order entered in the

  BMG Litigation. Cox further objects to the request to the extent that it calls for production of

  exhibits that were not admitted into evidence in the BMG Litigation. Cox further objects to this



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  request because, to the extent this request seeks documents relevant to this litigation, it

  unnecessarily duplicates discovery that Plaintiffs have already propounded, including Plaintiffs’

  requests for production nos. 1, 3, and 6 through 66, and Plaintiffs’ interrogatories nos. 1 through

  12.

         Subject to and without waiving the foregoing general and specific objections, Cox

  responds that it is willing to meet and confer in good faith with Plaintiffs to determine a

  reasonably tailored scope for this request.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 2

         Subject to and without waiving the foregoing general and specific objections, pursuant to

  the Court’s order, ECF No. 67, Cox has provided and/or will provide responsive documents to

  Plaintiffs consistent with the protective order that the Court entered in the BMG Litigation, to the

  extent Cox found such documents within its possession, custody, or control after undertaking a

  reasonable and diligent search.

  REQUEST NO. 3

         All documents with the Bates prefix “COX_BMG” (or otherwise originating from

  Defendants’ files) identified on any parties’ exhibit list in the BMG Litigation, including but not

  limited to documents identified on the exhibit lists filed at docket entry numbers 283, 284, 285,

  303, and 689. The documents should be produced with the bates numbers and/or exhibit

  numbers used in the BMG Litigation.

  RESPONSE TO REQUEST NO. 3

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or




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  defense, including but not limited to notices regarding works asserted by the BMG Plaintiffs and

  responses thereto; the DMCA; affirmative defenses not at issue here; works not at issue here;

  entities that are not parties to this litigation; documents concerning information outside

  Plaintiffs’ Claim Period; and documents that the Court in the BMG Litigation held could not be

  used as exhibits at trial, in the Court’s December 4, 2015 Order filed at docket entry 689. Cox

  further objects to this request because, to the extent this request seeks documents relevant to this

  litigation, it unnecessarily duplicates discovery that Plaintiffs have already propounded,

  including Plaintiffs’ requests for production nos. 1, 2, 4, 5, and 6 through 66, and Plaintiffs’

  interrogatories nos. 1 through 12.

          Subject to and without waiving the foregoing general and specific objections, Cox

  responds that it is willing to meet and confer in good faith with Plaintiffs to determine a

  reasonably tailored scope for this request.

  REQUEST NO. 4

          Transcripts of all depositions taken in the BMG Litigation, including any exhibits used

  during those depositions.

  RESPONSE TO REQUEST NO. 4

          Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including but not limited to ownership and notices regarding copyrighted works asserted

  by the BMG Plaintiffs; the DMCA, DMCA notices, and responses thereto; affirmative defenses

  not at issue here; works not at issue here; entities that are not parties to this litigation; and

  documents concerning information outside Plaintiffs’ Claim Period. Cox further objects to this

  request to the extent it purports to require Cox to disclose confidential or proprietary information


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  belonging to third parties before a protective order is entered, or documents and information

  subject to the protective order that was entered by this Court in the BMG Litigation. Cox further

  objects to this request because, to the extent this request seeks documents relevant to this

  litigation, it unnecessarily duplicates discovery that Plaintiffs have already propounded,

  including Plaintiffs’ requests for production nos. 1, 2, 3, 5, and 6 through 66, and Plaintiffs’

  interrogatories nos. 1 through 12.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive deposition transcripts of Cox’s

  officers, employees, or former employees identified in Cox’s initial disclosures in this case.

  REQUEST NO. 5

         All of Defendants’ responses and objections to interrogatories, document requests,

  requests for admission, and deposition notices and topics in the BMG Litigation.

  RESPONSE TO REQUEST NO. 5

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including notices regarding works asserted by the BMG Plaintiffs and responses thereto;

  the DMCA; affirmative defenses not at issue here; works not at issue here; entities that are not

  parties to this litigation; and information outside Plaintiffs’ Claim Period. Cox further objects to

  the request as an improper attempt by Plaintiffs to avoid the limitations that the Federal Rules

  place on the number of interrogatories permitted in Federal litigation. Cox further objects to this

  request because, to the extent this request seeks documents relevant to this litigation, it

  unnecessarily duplicates discovery that Plaintiffs have already propounded, including Plaintiffs’

  requests for production nos. 1, 2, 3, 4, and 6 through 66, and Plaintiffs’ interrogatories nos. 1


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  through 12.

  REQUEST NO. 6

         All documents involving, mentioning or related to MarkMonitor or DtecNet Inc.,

  including but not limited to communications with or concerning MarkMonitor or DtecNet Inc.

  and assessments or analyses of MarkMonitor or DtecNet Inc.

  RESPONSE TO REQUEST NO. 6

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including to the extent it seeks documents outside Plaintiffs’ Claim Period. Cox further

  objects to this request to the extent it purports to require Cox to search for, review, or produce

  documents concerning works not at issue in this case, and entities not party to this litigation. Cox

  further objects to this request to the extent it seeks information protected from disclosure by the

  attorney-client privilege, work product doctrine, common interest privilege, or other applicable

  privilege or doctrine.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  concerning Plaintiffs, Plaintiffs’ works in suit, or Plaintiffs notices during Plaintiffs’ Claim

  Period, to the extent Cox finds such documents within its possession, custody, or control after

  undertaking a reasonable and diligent search.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 6

         Subject to and without waiving the foregoing general and specific objections, and as

  agreed during the parties' meet and confer sessions, Cox further responds that in addition to




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  providing documents concerning Plaintiffs, Plaintiffs’ works in suit, or Plaintiffs’ notices during

  Plaintiffs’ Claim Period, which Cox has already agreed to do, Cox will also agree to produce

  other types of responsive, non-privileged documents, exclusive of notices of claimed

  infringement submitted on behalf of third parties or outside Plaintiffs’ Claim Period, concerning

  communications with MarkMonitor or DtecNet Inc., to the extent Cox finds such documents

  within its possession, custody, or control after undertaking a reasonable and diligent search, and

  that Cox will also produce responsive, non-privileged assessments or analyses of MarkMonitor

  or DtecNet Inc., to the extent Cox finds such documents within its possession, custody, or

  control after undertaking a reasonable and diligent search.

  REQUEST NO. 7

          All documents concerning CATS, including but not limited to technical documents

  describing CATS, diagrams of CATS, the internal “wiki” that describes CATS and its technical

  implementation, and all versions of the CATS Abuse Automation System Implementation Plan.

  RESPONSE TO REQUEST NO. 7

          Cox objects that this request is overbroad and unduly burdensome, including in seeking

  “all documents,” and because the request is overbroad and unduly burdensome in seeking

  documents outside Plaintiffs’ Claim Period. Cox further objects to this request to the extent it

  purports to require Cox to disclose trade secrets or other confidential or proprietary information

  before a protective order is entered. Cox further objects to this request to the extent that it is

  duplicative of Plaintiffs’ request for production no. 8.

          Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged technical

  documents, sufficient to show the technical implementation or implementations of versions of


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  CATS that were in use by Cox during Plaintiffs’ Claim Period, and all versions of the CATS

  Abuse Automation System Implementation Plan concerning versions of CATS that were in use

  by Cox during Plaintiffs’ Claim Period, to the extent Cox finds such documents within its

  possession, custody, or control after undertaking a reasonable and diligent search.

  REQUEST NO. 8

          All computer source code implementing CATS.

  RESPONSE TO REQUEST NO. 8

          Cox objects that this request is overbroad, unduly burdensome, and not proportional to

  the needs of the case, including in seeking “all” computer source code and in seeking documents

  outside Plaintiffs’ Claim Period. Cox further objects to this request to the extent it purports to

  require Cox to disclose trade secrets or other confidential or proprietary information confidential

  or proprietary information before a protective order is entered. Cox further objects to this request

  to the extent that it is duplicative of Plaintiffs’ request for production no. 7.

          Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will make available for inspection responsive source

  code for versions of CATS that were in use by Cox during Plaintiffs’ Claim Period, to the extent

  Cox finds such documents within its possession, custody, or control after undertaking a

  reasonable and diligent search.

  REQUEST NO. 9

          All documents concerning Defendants’ “walled garden.”

  RESPONSE TO REQUEST NO. 9

          Cox objects to this request as vague and ambiguous, overbroad, unduly burdensome, and



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  as seeking documents outside Plaintiffs’ Claim Period. Cox further objects to this request to the

  extent it seeks information protected from disclosure by the attorney-client privilege, work

  product doctrine, common interest privilege, or other applicable privilege or doctrine.

         Subject to and without waiving the foregoing general and specific objections, Cox

  responds that it is willing to meet and confer in good faith with Plaintiffs to determine a

  reasonably tailored scope for this request.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 9

         Subject to and without waiving the foregoing general and specific objections, and as

  agreed during the parties' meet and confer sessions, Cox will produce responsive, non-privileged

  written policies concerning Cox’s “walled garden,” to the extent Cox finds such documents

  within its possession, custody, or control after undertaking a reasonable and diligent search, and

  screenshots sufficient to show what a “walled garden” looks like.

  REQUEST NO. 10

         All documents concerning alleged copyright infringement by your Subscribers or Users

  or through your internet service.

  RESPONSE TO REQUEST NO. 10

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including by seeking documents that do not concern Plaintiffs’ alleged works, and to the

  extent it seeks documents outside Plaintiffs’ Claim Period. Cox further objects to this request to

  the extent it improperly seeks information protected from disclosure by the attorney-client

  privilege, work product doctrine, common interest privilege, or other applicable privilege or




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  doctrine. Cox further objects to this request to the extent that it is duplicative of other discovery

  requests that Plaintiffs have propounded, including without limitation 11, 16, 18-30, 33-35, 38-

  43, and 45.

          Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  concerning alleged infringement of Plaintiffs’ works in suit, during Plaintiffs’ Claim Period, to

  the extent Cox finds such documents within its possession, custody, or control after undertaking

  a reasonable and diligent search.

  REQUEST NO. 11

          All Infringement Notices received by Defendants from any rights holder.

  RESPONSE TO REQUEST NO. 11

          Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including because it seeks information about works and parties that are irrelevant to this

  case, because it seeks information about notices of claimed infringement submitted by or on

  behalf of non-parties, and to the extent it seeks documents outside Plaintiffs’ Claim Period. Cox

  further objects that this request is vague and ambiguous, in particular as the terms “rights holder”

  and “Infringement Notice,” since Cox lacks information about whether any individual or entity

  holds any rights. Cox further objects to this request to the extent that it is duplicative of other

  discovery requests that Plaintiffs have propounded, including without limitation Plaintiffs’

  requests for production nos. 10, 16, 18-30, 33-35, 38-43, and 45, and Plaintiffs’ interrogatory no.

  2. Cox further objects to this request to the extent it seeks information that is equally available to

  Plaintiffs.


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         Subject to and without waiving the foregoing general and specific objections, Cox will

  produce responsive, non-privileged documents constituting notices of claimed infringement of

  Plaintiffs’ works that were sent on Plaintiffs’ behalf during Plaintiffs’ Claim Period, to the extent

  Cox finds such documents within its possession, custody, or control after undertaking a

  reasonable and diligent search.

  REQUEST NO. 12

         Reports, studies, memoranda and/or analyses pertaining to Internet usage on Cox’s

  network by its subscribers, including the volume of BitTorrent and/or Peer-to-Peer Internet

  traffic on Cox’s network and how it compares to other usage categories.

  RESPONSE TO REQUEST NO. 12

         Cox objects to this request as overbroad and unduly burdensome, including to the extent

  it seeks documents outside Plaintiffs’ Claim Period, and because it seeks documents “pertaining

  to Internet usage on Cox’s network.” Cox further objects that this request is vague and

  ambiguous, including in its use of the undefined terms “pertaining,” “Internet usage,”

  “BitTorrent … Internet traffic,” “Peer-to-Peer Internet traffic,” “memoranda” and “analyses.”

  Cox further objects to this request to the extent it improperly seeks information protected from

  disclosure by the attorney-client privilege, work product doctrine, common interest privilege, or

  other applicable privilege or doctrine. Cox further objects to this request to the extent that it is

  duplicative of other discovery requests that Plaintiffs have propounded, including request for

  production no. 13.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged reports, studies,

  memoranda, or analyses concerning the volume of BitTorrent traffic and the volume of traffic


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  attributable to other peer-to-peer file sharing systems on Cox’s network, including representative

  documents comparing such traffic to other types of traffic on Cox’s network, to the extent Cox

  finds such documents within its possession, custody, or control after undertaking a reasonable

  and diligent search.

  REQUEST NO. 13

         All documents concerning BitTorrent or other Peer-to-Peer file sharing, including but not

  limited to documents concerning the use of BitTorrent or other Peer-to-Peer file sharing by your

  Subscribers or Users; the prevalence of copyright infringement occurring through BitTorrent or

  other Peer-to-Peer file sharing systems; communications, memos, and studies discussing

  BitTorrent or Peer-to-Peer Internet traffic whether or not on the Cox network.

  RESPONSE TO REQUEST NO. 13

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, and further objects that this request is overbroad and unduly burdensome, including in

  its demand for “all documents” concerning general subjects and its use of the undefined term

  “other Peer-to-Peer file sharing,” such that the request fails to describe with reasonable

  particularity the items or categories of items to be produced for inspection. Cox further objects to

  this request to the extent it improperly seeks information protected from disclosure by the

  attorney-client privilege, work product doctrine, common interest privilege, or other applicable

  privilege or doctrine. Cox further objects to this request to the extent that it is duplicative of other

  discovery requests that Plaintiffs have propounded, including request for production no. 12.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents,


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  concerning the use of BitTorrent or other peer-to-peer file sharing systems by Cox subscribers;

  the prevalence of copyright infringement occurring through BitTorrent or other peer-to-peer file

  sharing systems; and communications, memos, and studies discussing Internet traffic attributable

  to BitTorrent or other peer-to-peer file sharing systems, to the extent Cox finds such documents

  within its possession, custody, or control after undertaking a reasonable and diligent search.

  REQUEST NO. 14

         Documents sufficient to show your corporate structure for the business of providing

  internet services, including the relationship between any parent corporations, subsidiaries, or any

  affiliates engaged in your business of providing internet services.

  RESPONSE TO REQUEST NO. 14

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense. Cox further objects that this request is overbroad and unduly burdensome to the extent it

  seeks documents outside Plaintiffs’ Claim Period.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  sufficient to show Cox’s corporate structure for the business of providing internet services during

  Plaintiffs’ Claim Period, to the extent Cox finds such documents within its possession, custody,

  or control after undertaking a reasonable and diligent search.

  REQUEST NO. 15

         Documents sufficient to show your organizational charts and structure, and executive

  titles and job occupants, for addressing copyright complaints, user terms of service, acceptable




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  use policies, privacy policies, and finances, from January 1, 2008 through December 31, 2014.

  RESPONSE TO REQUEST NO. 15

           Cox objects that this request is vague, ambiguous, overbroad, and unduly burdensome,

  confusing, and ungrammatical, and fails to describe, with reasonable particularity, the items or

  categories of items to be produced for inspection. Cox will interpret the term “organizational

  charts and structure” to mean “organizational structure.” Cox further objects that the request is

  vague, ambiguous, overbroad, and unduly burdensome, to the extent it generally seeks

  documents or information concerning “finances.” Cox further objects that the request is

  overbroad, unduly burdensome, and seeks information that is outside the scope of permissible

  discovery because it is not relevant to any party's claim or defense, and to the extent it seeks

  documents outside Plaintiffs’ Claim Period. Cox will not commit to search for or produce

  documents from before January 1, 2010. Cox further objects to this request to the extent that it is

  duplicative of other discovery requests that Plaintiffs have propounded, including Interrogatory

  No. 1.

           Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce representative responsive, non-privileged

  organizational charts, sufficient to show the requested information for the period from January 1,

  2010 through November 30, 2014, to the extent Cox finds such documents within its possession,

  custody, or control after undertaking a reasonable and diligent search.

  REQUEST NO. 16

           All documents concerning any copyright or infringement policy, including but not limited

  to any draft or final versions of such policies; the effects of such policies; documents sufficient to

  identify the employees or agents with responsibility for developing, conceiving, drafting and/or


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  implementing such policies; documents sufficient to show when you first adopted such policies

  and the date of any changes to such policies; and documents sufficient to show how and when

  such policies were communicated to third parties including but not limited to Subscribers or

  Users. This request includes but is not limited to any DMCA Policy, Repeat Infringer Policy,

  and/or Acceptable Use Policy.

  RESPONSE TO REQUEST NO. 16

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense. Cox further objects that this request is vague and ambiguous, compound, and confusing,

  including because it seeks “all documents” that are “sufficient” to show or identify broad topics.

  Cox will interpret this request as seeking documents sufficient to show or identify the requested

  information. Cox further objects to this request to the extent it improperly seeks information

  protected from disclosure by the attorney-client privilege, work product doctrine, common

  interest privilege, or other applicable privilege or doctrine.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  concerning Cox’s policies relating to copyright infringement that were in effect during Plaintiffs’

  Claim Period, to the extent Cox finds such documents within its possession, custody, or control

  after undertaking a reasonable and diligent search. Cox will also respond to Plaintiffs’

  concurrently-served Interrogatory No. 1 as set forth in Cox’s response thereto.

  REQUEST NO. 17

         All documents concerning your communications to Subscribers or Users of any DMCA

  Policy (or other policy concerning copyright or infringement). This request includes but is not


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  limited to documents sufficient to show when, how and what you communicated to Subscribers

  or Users concerning such policies.

  RESPONSE TO REQUEST NO. 17

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense. Cox will respond with respect to its policies concerning copyright infringement. Cox

  further objects that this request is overbroad and unduly burdensome to the extent it seeks

  documents outside Plaintiffs’ Claim Period.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  sufficient to show when and how Cox communicated its policies concerning copyright

  infringement to subscribers of Cox’s residential ISP service, and what Cox communicated to

  them, to the extent Cox finds such documents within its possession, custody, or control after

  undertaking a reasonable and diligent search.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 17

         Subject to and without waiving the foregoing general and specific objections, and as

  agreed during the parties' meet and confer sessions, Cox will produce responsive, non-privileged

  documents, exclusive of notices of claimed infringement submitted on behalf of third parties or

  outside Plaintiffs’ Claim Period, sufficient to show when and how Cox communicated its

  policies concerning copyright infringement to subscribers to Cox’s Internet service, and what

  Cox communicated to them, to the extent Cox finds such documents within its possession,

  custody, or control after undertaking a reasonable and diligent search.




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  REQUEST NO. 18

         All documents concerning any Infringement Notice, including but not limited to any

  notices of alleged copyright infringement received by Defendant, whether sent on behalf of

  Plaintiffs or any other rights holders and regardless of whether or not Defendants processed or

  retained or acted on such notices.

  RESPONSE TO REQUEST NO. 18

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, because it seeks documents concerning works and parties not at issue in this litigation,

  and to the extent it seeks documents outside Plaintiffs’ Claim Period. Cox further objects to this

  request to the extent it improperly seeks information protected from disclosure by the attorney-

  client privilege, work product doctrine, common interest privilege, or other applicable privilege

  or doctrine. Cox further objects to this request to the extent it seeks information that is in

  Plaintiffs’ possession, custody, or control or that is equally available to Plaintiffs. Cox further

  objects to this request to the extent it purports to require Cox to disclose information that

  infringes on any individual’s right of privacy, whether protected under the United States or any

  state constitution, or federal or state statute, regulation, or common law, or otherwise.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  concerning notices of claimed infringement of Plaintiffs’ works that were sent on Plaintiffs’

  behalf during Plaintiffs’ Claim Period, to the extent Cox finds such documents within its

  possession, custody, or control after undertaking a reasonable and diligent search.




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  REQUEST NO. 19

         All documents that describe and/or identify Infringement Notices that Cox received but

  rejected (and/or did not process or retain), including but not limited to Infringement Notices from

  Rightscorp.

  RESPONSE TO REQUEST NO. 19

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including because it seeks documents concerning works and parties not at issue in this

  litigation, and to the extent it seeks documents outside Plaintiffs’ Claim Period. Cox further

  objects to this request to the extent it improperly seeks information protected from disclosure by

  the attorney-client privilege, work product doctrine, common interest privilege, or other

  applicable privilege or doctrine. Cox further objects to this request to the extent it seeks

  information that is in Plaintiffs’ possession, custody, or control, or that is equally available to

  Plaintiffs. Cox further objects to this request to the extent it purports to require Cox to disclose

  information that infringes on any individual’s right of privacy, whether protected under the

  United States or any state constitution, or federal or state statute, regulation, or common law, or

  otherwise.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  concerning notices of claimed infringement of Plaintiffs’ works that were sent on Plaintiffs’

  behalf during Plaintiffs’ Claim Period, to the extent Cox finds such documents within its

  possession, custody, or control after undertaking a reasonable and diligent search.




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  REQUEST NO. 20

            Documents sufficient to identify Defendants’ employees or agents involved any manner

  [sic] in receiving, assessing, addressing, and/or implementing any Infringement Notice, including

  documents sufficient to identify each person’s role.

  RESPONSE TO REQUEST NO. 20

            Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including to the

  extent it seeks documents outside Plaintiffs’ Claim Period, and to the extent it seeks information

  about individuals who are “involved in any manner” in a wide variety of undefined tasks. Cox

  further objects to this request Cox further objects to this request to the extent that it is duplicative

  of other discovery requests that Plaintiffs have propounded, including request for production

  no. 15.

            Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents as set

  forth in its response to Plaintiffs’ request for production no. 15.

  REQUEST NO. 21

            Documents sufficient to show how and when Defendants communicated any

  Infringement Notice to third parties, including but not limited to Subscribers or Users. This

  request includes Defendants’ policies for forwarding to or otherwise informing Subscribers or

  User of copyright infringement allegations and any notices or communications to Subscribers or

  Users.




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  RESPONSE TO REQUEST NO. 21

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including because it seeks information about works and parties that are irrelevant to this

  case, and to the extent it seeks documents outside Plaintiffs’ Claim Period. Cox further objects to

  this request to the extent it improperly seeks information protected from disclosure by the

  attorney-client privilege, work product doctrine, common interest privilege, or other applicable

  privilege or doctrine.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  sufficient to show Cox’s policies for forwarding notices of claimed infringement to subscribers

  that were in effect during Plaintiffs’ Claim Period, to the extent Cox finds such documents within

  its possession, custody, or control after undertaking a reasonable and diligent search. Cox will

  also produce representative responsive, non-privileged documents that are sufficient to show

  how and when Cox communicated to third parties any notice of claimed infringement submitted

  on Plaintiffs’ behalf during Plaintiffs’ Claim Period, concerning Plaintiffs’ works in suit, to the

  extent Cox finds such documents within its possession, custody, or control after undertaking a

  reasonable and diligent search.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 21

         Subject to and without waiving the foregoing general and specific objections, and as

  agreed during the parties' meet and confer sessions, Cox will produce responsive, non-privileged

  documents sufficient to show Cox’s policies for forwarding notices of claimed infringement to

  subscribers, to the extent Cox finds such documents within its possession, custody, or control



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  after undertaking a reasonable and diligent search. Cox will also produce responsive, non-

  privileged documents sufficient to show how and when Cox communicated to third parties

  notices of claimed infringement submitted on Plaintiffs’ behalf during Plaintiffs’ Claim Period,

  concerning Plaintiffs’ works in suit, to the extent Cox finds such documents within its

  possession, custody, or control after undertaking a reasonable and diligent search.

  REQUEST NO. 22

          Documents sufficient to show the following information concerning Infringement

  Notices received by Defendant: the number and dates of Infringement Notices, the allegedly

  infringed content, the IP addresses and subscribers associated with Infringement Notices, and the

  rights holder on whose behalf the Infringement Notices were sent.

  RESPONSE TO REQUEST NO. 22

          Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including because it seeks documents concerning works and parties not at issue in this

  litigation, and to the extent it seeks documents outside Plaintiffs’ Claim Period. Cox further

  objects to this request to the extent that it is duplicative of other discovery requests that Plaintiffs

  have propounded, including Plaintiffs’ interrogatory no. 2. Cox further objects to this request to

  the extent it seeks information that is in Plaintiffs’ possession, custody, or control, or that is

  equally available to Plaintiffs. Cox further objects to this request to the extent it purports to

  require Cox to disclose information that infringes on any individual’s right of privacy, whether

  protected under the United States or any state constitution, or federal or state statute, regulation,

  or common law, or otherwise.

          Subject to and without waiving the foregoing general and specific objections, Cox will


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  produce responsive, non-privileged documents sufficient to show the following information,

  except for personally identifiable information, concerning notices of claimed infringement of

  Plaintiffs’ works that were sent on Plaintiffs’ behalf during Plaintiffs’ Claim Period, to the extent

  Cox finds such documents within its possession, custody, or control after undertaking a reasonable

  and diligent search. Cox will not produce personally identifiable information, other than the IP

  address, for any person absent a subpoena, Court order, or other form of due process that affords

  any affected individual notice and an opportunity to challenge the disclosure of such information.

  Cox is willing to meet and confer in good faith with Plaintiffs to determine a reasonable procedure

  and scope for responding to this request.

  REQUEST NO. 23

          All communications with your Subscribers or Users concerning copyright or alleged

  infringement, including but not limited to communications concerning Infringement Notices and

  documents sufficient to show the number, nature, date and content of such communications.

  RESPONSE TO REQUEST NO. 23

          Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including because it seeks documents concerning works and parties not at issue in this

  litigation, and to the extent it seeks documents outside Plaintiffs’ Claim Period. Cox further

  objects to this request to the extent that it is duplicative of other discovery requests that Plaintiffs

  have propounded, including requests for production nos. 21 and 22. Cox further objects to this

  request to the extent it purports to require Cox to disclose information that infringes on any

  individual’s right of privacy, whether protected under the United States or any state constitution,

  or federal or state statute, regulation, or common law, or otherwise.



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         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  comprising Cox’s communications with its customers concerning notices of claimed

  infringement concerning Plaintiffs’ works in suit that were submitted on Plaintiffs’ behalf during

  Plaintiffs’ Claim Period, to the extent Cox finds such documents within its possession, custody,

  or control after undertaking a reasonable and diligent search. Cox will also produce documents

  as set forth in its responses to requests for production nos. 21 and 22.

  REQUEST NO. 24

         All documents concerning any limits, restrictions, caps or quotas Defendant placed on the

  number of Infringement Notices it would receive, process, forward to Subscribers or otherwise

  act upon for the period of January 1, 2008 through December 31, 2014, irrespective of whether

  they concern Plaintiffs or other rights holders. This request includes Defendants’ internal and

  external communications about any such limits, restrictions, caps or quotes.

  RESPONSE TO REQUEST NO. 24

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including because it seeks documents concerning works and parties not at issue in this

  litigation, and to the extent it seeks documents outside Plaintiffs’ Claim Period. Cox further

  objects to this request to the extent it improperly seeks information protected from disclosure by

  the attorney-client privilege, work product doctrine, common interest privilege, or other

  applicable privilege or doctrine.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents


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  sufficient to show Cox's policy in effect during Plaintiffs’ Claim Period concerning numerical

  restrictions Cox placed on notices of claimed infringement, to the extent such documents are

  found by Cox within its possession, custody, or control after undertaking a reasonable and

  diligent search. Cox will also produce documents concerning numerical limits or restrictions it

  placed on notices of claimed infringement submitted on behalf of Plaintiffs during Plaintiffs’

  Claim Period, to the extent such documents are found by Cox within its possession, custody, or

  control after undertaking a reasonable and diligent search.

  REQUEST NO. 25

         All documents concerning communications with the Recording Industry Association of

  America, the National Music Publishers’ Association, and/or the Motion Picture Association of

  American concerning copyright infringement from January 1, 2008 through December 31, 2014.

  RESPONSE TO REQUEST NO. 25

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including because it seeks documents concerning works and parties not at issue in this

  litigation, because it seeks documents concerning “copyright infringement” generally, and to the

  extent it seeks documents outside Plaintiffs’ Claim Period. Cox further objects that this request is

  vague and ambiguous, in particular as the meaning of the phrase “concerning copyright

  infringement,” and to the extent it requires Cox to speculate as to the potential relationships

  between individual communicants and the named entities. Cox further objects to this request to

  the extent it improperly seeks information protected from disclosure by the attorney-client

  privilege, work product doctrine, common interest privilege, or other applicable privilege or

  doctrine. Cox further objects to this request to the extent it seeks information that is in Plaintiffs’



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  possession, custody, or control, or that is equally available to Plaintiffs.

            Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  concerning communications, exclusive of notices of claimed infringement, between Cox and the

  Recording Industry Association of America (“RIAA”) or the National Music Publishers’

  Association (“NMPA”), during the period January 1, 2010 through December 31, 2014,

  concerning the following subjects: Plaintiffs; Plaintiffs’ works in suit; allegations of copyright

  infringement occurring on Cox’s network; or the submission of notices of claimed infringement

  to Cox by the RIAA the NMPA, or their agents, to the extent Cox finds such documents within

  its possession, custody, or control after undertaking a reasonable and diligent search.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 25

            Subject to and without waiving the foregoing general and specific objections, Cox further

  responds that it will produce responsive, non-privileged documents concerning communications,

  exclusive of notices of claimed infringement submitted on behalf of third parties or outside

  Plaintiffs’ Claim Period, between Cox and the RIAA or NMPA, to the extent Cox finds such

  documents within its possession, custody, or control after undertaking a reasonable and diligent

  search.

  REQUEST NO. 26

            All documents concerning analyzing, assessing, investigating or responding to an

  Infringement Notice, including but not limited to actions considered or taken in response to any

  Infringement Notice. To the extent such actions have changed over time, this Request calls for

  documents sufficient to show any such change and the time such change occurred.




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  RESPONSE TO REQUEST NO. 26

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including because it seeks documents concerning works and parties not at issue in this

  litigation, and to the extent it seeks documents outside Plaintiffs’ Claim Period. Cox further

  objects to this request to the extent it improperly seeks information protected from disclosure by

  the attorney-client privilege, work product doctrine, common interest privilege, or other

  applicable privilege or doctrine. Cox further objects to this request to the extent that it is

  duplicative of other discovery requests that Plaintiffs have propounded. Cox further objects to

  this request to the extent it purports to require Cox to disclose information that infringes on any

  individual’s right of privacy, whether protected under the United States or any state constitution,

  or federal or state statute, regulation, or common law, or otherwise.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  sufficient to show Cox’s policies for responding to notices of claimed infringement that were in

  effect during Plaintiffs’ Claim Period, to the extent Cox finds such documents within its

  possession, custody, or control after undertaking a reasonable and diligent search. Cox will also

  produce responsive, non-privileged documents concerning actions Cox took in response to

  notices of claimed infringement that were sent on Plaintiffs’ behalf during Plaintiffs’ Claim

  Period, to the extent Cox finds such documents within its possession, custody, or control after

  undertaking a reasonable and diligent search. Cox will not produce personally identifiable

  information, other than the IP address, for any person absent a subpoena, Court order, or other

  form of due process that affords any affected individual notice and an opportunity to challenge



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  the disclosure of such information. Cox is willing to meet and confer in good faith with Plaintiffs

  to determine a reasonable procedure and scope for responding to this request.

  REQUEST NO. 27

         All documents concerning communications to or from Subscribers or Users regarding

  Infringement Notices (or any other notices of copyright infringement claims).

  RESPONSE TO REQUEST NO. 27

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including because it seeks documents concerning works and parties not at issue in this

  litigation, and to the extent it seeks documents outside Plaintiffs’ Claim Period. Cox further

  objects that this request is vague and ambiguous, in particular as to the undefined term “any

  other notices of copyright infringement claims.” Cox further objects that, to the extent this

  request seeks documents relevant to this litigation, it unnecessarily duplicates Plaintiffs’ other

  requests, including Plaintiffs’ request for production no. 23. Cox further objects to this request to

  the extent it improperly seeks information protected from disclosure by the attorney-client

  privilege, work product doctrine, common interest privilege, or other applicable privilege or

  doctrine. Cox further objects to this request to the extent it purports to require Cox to disclose

  information that infringes on any individual’s right of privacy, whether protected under the

  United States or any state constitution, or federal or state statute, regulation, or common law, or

  otherwise.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  concerning communications between Cox and Cox subscribers concerning notices of claimed


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  infringement of Plaintiffs’ works in suit that were sent on Plaintiffs’ behalf during Plaintiffs’

  Claim Period, to the extent Cox finds such documents within its possession, custody, or control

  after undertaking a reasonable and diligent search. Cox will not produce personally identifiable

  information, other than the IP address, for any person absent a subpoena, Court order, or other

  form of due process that affords any affected individual notice and an opportunity to challenge

  the disclosure of such information.

  REQUEST NO. 28

          All documents reflecting or comprising press releases or other public statements you

  made concerning your policies for responding to Infringement Notices from January 1, 2008

  through December 31, 2014.

  RESPONSE TO REQUEST NO. 28

          Cox objects that this request is vague and ambiguous, and overbroad and unduly

  burdensome, and seeks information that is outside the scope of permissible discovery because it

  is not relevant to any party's claim or defense, and to the extent it seeks documents outside

  Plaintiffs’ Claim Period, and in seeking “all documents” that “reflect[]” “public statements,” and

  fails to describe with reasonable particularity the items or categories of items to be produced for

  inspection. Cox further objects to this request to the extent it seeks information that is publicly

  available, or that is equally available to Plaintiffs.

          Subject to and without waiving the foregoing general and specific objections, Cox will

  produce responsive, non-privileged documents constituting press releases concerning Cox’s

  policies for responding to Infringement Notices between January 1, 2010 and November 30,

  2014, to the extent Cox finds such documents within its possession, custody, or control after

  undertaking a reasonable and diligent search.


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  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 28

         Subject to and without waiving the foregoing general and specific objections, and as

  agreed during the parties' meet and confer sessions, Cox further responds that it will produce

  responsive, non-privileged documents, to the extent Cox finds such documents within its

  possession, custody, or control after undertaking a reasonable and diligent search.

  REQUEST NO. 29

         All documents concerning any policy, practice or capability that Defendant considered,

  formulated, or adopted for taking adverse action (including without limitation, suspending or

  terminating internet service) against Subscribers or Users for alleged copyright infringement.

  RESPONSE TO REQUEST NO. 29

         Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including to the

  extent it seeks documents outside Plaintiffs’ Claim Period. Cox further objects that this request is

  vague and ambiguous, overbroad, and unduly burdensome as to the meaning of the undefined

  terms “practice or capability,” “adverse action,” and in seeking information concerning what Cox

  “considered,” and that the request fails to describe with reasonable particularity the items or

  categories of items to be produced for inspection. Cox further objects to this request to the extent

  it improperly seeks information protected from disclosure by the attorney-client privilege, work

  product doctrine, common interest privilege, or other applicable privilege or doctrine.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  concerning policies that Defendant adopted between January 1, 2010 and November 30, 2014 for

  taking adverse actions against subscribers for alleged copyright infringement, to the extent Cox


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  finds such documents within its possession, custody, or control after undertaking a reasonable

  and diligent search.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 29

          Subject to and without waiving the foregoing general and specific objections, Cox further

  responds that it will also produce responsive, non-privileged documents sufficient to show

  policies that it considered between January 1, 2010 and November 30, 2014, to the extent Cox

  finds such documents within its possession, custody, or control after undertaking a reasonable

  and diligent search.

  REQUEST NO. 30

          All documents concerning communications with any third party that sent you a notice of

  alleged copyright infringement, including all documents comprising such notices and internal

  and external communications about such notices.

  RESPONSE TO REQUEST NO. 30

          Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including because it seeks documents concerning works and parties not at issue in this

  litigation, and to the extent it seeks documents outside Plaintiffs’ Claim Period. Cox further

  objects to this request to the extent it improperly seeks information protected from disclosure by

  the attorney-client privilege, work product doctrine, common interest privilege, or other

  applicable privilege or doctrine. Cox further objects to this request to the extent that it is

  duplicative of other discovery requests that Plaintiffs have propounded. Cox further objects to

  this request to the extent it seeks information that is in Plaintiffs’ possession, custody, or control,

  or that is equally available to Plaintiffs.


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         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  concerning communications with any third party concerning notices of claimed infringement

  sent on Plaintiffs’ behalf concerning Plaintiffs’ works, during Plaintiffs’ Claim Period, to the

  extent Cox finds such documents within its possession, custody, or control after undertaking a

  reasonable and diligent search.

  REQUEST NO. 31

         All documents concerning Subscribers’ or Users’ awareness of any Defendant DMCA

  Policy or other copyright or infringement policies.

  RESPONSE TO REQUEST NO. 31

         Cox objects to this request as vague and ambiguous, and as overbroad and unduly

  burdensome, in seeking “all documents” concerning the “awareness” of third parties. Cox further

  objects to the request to the extent it seeks information that is outside the scope of permissible

  discovery because it is not relevant to any party's claim or defense, and to the extent the request

  seeks documents outside Plaintiffs’ Claim Period. Cox further objects to this request to the extent

  it improperly seeks information protected from disclosure by the attorney-client privilege, work

  product doctrine, common interest privilege, or other applicable privilege or doctrine. Cox

  further objects to this request because it unnecessarily duplicates other discovery requests that

  Plaintiffs have propounded, including requests seeking information about Cox’s policies, public

  statements, and handling of notices of claimed infringement. Cox further objects to this request

  to the extent it purports to require Cox to disclose information that infringes on any individual’s

  right of privacy, whether protected under the United States or any state constitution, or federal or

  state statute, regulation, or common law, or otherwise.



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         Subject to and without waiving the foregoing general and specific objections, Cox

  responds that it is willing to meet and confer in good faith with Plaintiffs to determine a

  reasonably tailored scope for this request.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 31

         Subject to and without waiving the foregoing general and specific objections, Cox further

  responds that it will produce responsive, non-privileged documents, exclusive of notices of

  claimed infringement submitted on behalf of third parties or outside Plaintiffs’ Claim Period,

  sufficient to show its subscribers’ awareness of Cox’s DMCA and copyright infringement

  policies, to the extent Cox finds such documents within its possession, custody, or control after

  undertaking a reasonable and diligent search. Cox will also produce responsive, non-privileged

  documents sufficient to show how and when Cox communicated to its subscribers notices of

  claimed infringement submitted on Plaintiffs’ behalf during Plaintiffs’ Claim Period, concerning

  Plaintiffs’ works in suit, to the extent Cox finds such documents within its possession, custody,

  or control after undertaking a reasonable and diligent search.

  REQUEST NO. 32

         All documents concerning Defendants’ policies or approach to assigning or reassigning

  IP addresses to Subscribers, the length of time of such assignments, and the geographic scope of

  specific IP addresses.

  RESPONSE TO REQUEST NO. 32

         Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including to the

  extent it seeks documents outside Plaintiffs’ Claim Period. Cox further objects to this request to

  the extent it purports to require Cox to disclose trade secrets or other confidential or proprietary


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  information confidential or proprietary information before a protective order is entered, or such

  information belonging to third parties. Cox further objects to this request to the extent it

  improperly seeks information protected from disclosure by the attorney-client privilege, work

  product doctrine, common interest privilege, or other applicable privilege or doctrine. Cox

  further objects to this request to the extent it seeks information that is not in Cox’s possession,

  custody, or control, that is publicly available, or that is equally available to Plaintiffs.

          Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  sufficient to show Cox’s policies and practices for assigning IP addresses to its subscribers

  during Plaintiffs’ Claim Period, to the extent Cox finds such documents within its possession,

  custody, or control after undertaking a reasonable and diligent search.

  REQUEST NO. 33

          All documents concerning tracking or determining the identity of Subscribers or Users

  associated with an IP address identified in an Infringement Notice.

  RESPONSE TO REQUEST NO. 33

          Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including to the

  extent it seeks documents outside Plaintiffs’ Claim Period. Cox further objects that this request is

  vague and ambiguous, overbroad, and unduly burdensome, including in seeking “all documents”

  and as to the terms “tracking” and “associated with an IP address.” Cox further objects to this

  request to the extent it purports to require Cox to disclose trade secrets or other confidential or

  proprietary information before a protective order is entered. Cox further objects to this request to

  the extent it improperly seeks information protected from disclosure by the attorney-client


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  privilege, work product doctrine, common interest privilege, or other applicable privilege or

  doctrine. Cox will not produce such privileged or protected documents or information. Cox

  further objects to this request to the extent it purports to require Cox to disclose information that

  infringes on any individual’s right of privacy, whether protected under the United States or any

  state constitution, or federal or state statute, regulation, or common law, or otherwise.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  sufficient to show its policies and practices during Plaintiffs’ Claim Period for determining the

  identity of a subscriber associated with an IP address a notice of claimed infringement, to the

  extent Cox finds such documents within its possession, custody, or control after undertaking a

  reasonable and diligent search. Cox will not produce personally identifiable information, other

  than the IP address, for any person absent a subpoena, Court order, or other form of due process

  that affords any affected individual notice and an opportunity to challenge the disclosure of such

  information.

  REQUEST NO. 34

         Documents sufficient to identify the Subscribers associated with the IP addresses

  identified in any Infringement Notice Defendant received from January 1, 2013 through

  December 31, 2014.

  RESPONSE TO REQUEST NO. 34

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including by seeking documents that do not concern Plaintiffs’ alleged works, and to the

  extent it seeks documents outside Plaintiffs’ Claim Period. Cox further objects to this request to


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  the extent that it is duplicative of other discovery requests that Plaintiffs have propounded,

  including without limitation Plaintiffs’ requests for production nos. 11, 18, and 22, and

  interrogatory no. 3. Cox further objects to this request to the extent it purports to require Cox to

  disclose confidential or proprietary information before a protective order is entered, or

  confidential information of third parties. Cox further objects to this request to the extent it

  purports to require Cox to disclose information that infringes on any individual’s right of

  privacy, whether protected under the United States or any state constitution, or federal or state

  statute, regulation, or common law, or otherwise.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce documents as set forth in its response to

  Plaintiffs’ requests for production nos. 11, 18, and 22. Cox will not produce personally

  identifiable information, other than the IP address, for any person absent a subpoena, Court

  order, or other form of due process that affords any affected individual with notice and an

  opportunity to challenge the disclosure of such information. Cox is willing to meet and confer in

  good faith with Plaintiffs to determine a reasonable procedure and scope for responding to this

  request.

  REQUEST NO. 35

         All DHCP logs linking Subscribers to the IP addresses identified in any Infringement

  Notice Defendant received from January 1, 2013 through December 31, 2014.

  RESPONSE TO REQUEST NO. 35

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, because it seeks documents concerning works and parties not at issue in this litigation,


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  and to the extent it seeks documents outside Plaintiffs’ Claim Period. Cox further objects to this

  request to the extent it seeks information not in Cox’s possession, custody, or control. Cox

  further objects to this request to the extent it purports to require Cox to disclose information that

  infringes on any individual’s right of privacy, whether protected under the United States or any

  state constitution, or federal or state statute, regulation, or common law, or otherwise.

          Cox will not produce personally identifiable information, other than the IP address, for

  any person absent a subpoena, Court order, or other form of due process that affords any affected

  individual notice and an opportunity to challenge the disclosure of such information. Cox is

  willing to meet and confer in good faith with Plaintiffs to determine a reasonable procedure and

  scope for responding to this request.

  REQUEST NO. 36

          All advertising or marketing concerning use of your internet service to download or

  obtain music.

  RESPONSE TO REQUEST NO. 36

          Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, and to the extent

  it seeks documents outside Plaintiffs’ Claim Period. Cox further objects that this request is vague

  and ambiguous, and fails to describe with reasonable particularity the items or categories of

  items to be produced for inspection. Cox further objects to this request to the extent it purports to

  require Cox to produce electronically stored information in more than one form, contrary to the

  provisions of Fed. R. Civ. P. 34(b)(2)(E)(ii) and (iii). Cox further objects to this request to the

  extent it seeks information that is not in Cox’s possession, custody, or control, that is publicly

  available, or that is equally available to Plaintiffs.


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         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged advertising or

  marketing materials that Cox used to advertise its residential ISP service during Plaintiffs’ Claim

  Period, to the extent Cox finds such documents within its possession, custody, or control after

  undertaking a reasonable and diligent search.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 36

         Subject to and without waiving the foregoing general and specific objections, and as

  agreed during the parties' meet and confer sessions, Cox will produce responsive, non-privileged

  advertising or marketing materials that Cox used to advertise its Internet service during

  Plaintiffs’ Claim Period, to the extent Cox finds such documents within its possession, custody,

  or control after undertaking a reasonable and diligent search.

  REQUEST NO. 37

         Marketing reports, plans, studies and consumer research related to how Cox’s customers

  use the internet, what benefits and attributes Cox’s customers wish to receive from the Internet,

  and the types of customers that use the Internet. This request specifically includes but is not

  limited to reports, analysis or surveys concerning use of your internet service to download or

  obtain music.

  RESPONSE TO REQUEST NO. 37

         Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, and to the extent

  it seeks documents outside Plaintiffs’ Claim Period. Cox further objects that this request is

  overbroad, unduly burdensome, vague and ambiguous, and fails to describe with reasonable

  particularity the items or categories of items to be produced for inspection, including in


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  requesting information concerning “benefits and attributes,” “types of customers,” and use of the

  Internet generally.

         Subject to and without waiving the foregoing general and specific objections, Cox

  responds that it is willing to meet and confer in good faith with Plaintiffs to determine a

  reasonably tailored scope for this request.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 37

         Subject to and without waiving the foregoing general and specific objections, and as

  agreed during the parties' meet and confer sessions, Cox further responds that it will produce

  responsive, non-privileged documents that were produced in the BMG Litigation, to the extent

  Cox finds such documents within its possession, custody, or control after undertaking a

  reasonable and diligent search.

  REQUEST NO. 38

         All documents concerning any investigation by Defendants into any allegation of

  copyright infringement by Subscribers or Users, including but not limited to documents

  concerning Defendants’ identification of Subscribers or Users alleged to have infringed one or

  more copyrights, and efforts to determine if any Subscribers or Users infringed copyrights using

  Defendants’ internet service.

  RESPONSE TO REQUEST NO. 38

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, because it seeks documents concerning works and parties not at issue in this litigation,

  and to the extent it seeks documents outside Plaintiffs’ Claim Period. Cox further objects to this




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  request to the extent it improperly seeks information protected from disclosure by the attorney-

  client privilege, work product doctrine, common interest privilege, or other applicable privilege

  or doctrine. Cox further objects to this request to the extent it purports to require Cox to disclose

  information that infringes on any individual’s right of privacy, whether protected under the

  United States or any state constitution, or federal or state statute, regulation, or common law, or

  otherwise.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  concerning its investigations into allegations of copyright infringement of Plaintiffs’ works that

  were sent on Plaintiffs’ behalf during Plaintiffs’ Claim Period, to the extent Cox finds such

  documents within its possession, custody, or control after undertaking a reasonable and diligent

  search. Notwithstanding the foregoing, Cox will not produce personally identifiable information,

  other than the IP address, for any person absent a subpoena, Court order, or other form of due

  process that affords any affected individual notice and an opportunity to challenge the disclosure

  of such information. Cox is willing to meet and confer in good faith with Plaintiffs to determine

  a reasonable procedure and scope for responding to this request.

  REQUEST NO. 39

         All documents concerning the suspension or termination of internet service to any

  Subscriber or User relating to copyright infringement or violation of any provision of any

  DMCA Policy, Acceptable Use Policy, Repeat Infringer Policy, or any other policy related to

  copyright infringement.

  RESPONSE TO REQUEST NO. 39

         Cox objects to this request as vague and ambiguous, overbroad, and unduly burdensome,


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  and to the extent it seeks information that is outside the scope of permissible discovery because it

  is not relevant to any party’s claim or defense. Cox further objects to this request to the extent

  that it seeks documents outside Plaintiffs’ Claim Period. Cox further objects to this request

  because, to the extent this request seeks documents relevant to this litigation, it unnecessarily

  duplicates discovery that Plaintiffs have already propounded, including Plaintiffs’ request for

  production no. 43. Cox further objects to this request to the extent it improperly seeks

  information protected from disclosure by the attorney-client privilege, work product doctrine,

  common interest privilege, or other applicable privilege or doctrine. Cox further objects to this

  request to the extent it purports to require Cox to disclose information that infringes on any

  individual’s right of privacy, whether protected under the United States or any state constitution,

  or federal or state statute, regulation, or common law, or otherwise.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce documents as set forth in its response to

  Plaintiffs’ request for production no. 43. Cox also will produce responsive, non-privileged

  documents concerning its suspension or termination of Cox subscribers for whom Cox received

  notices of claimed infringement of Plaintiffs’ works that were submitted on Plaintiffs’ behalf

  during Plaintiffs’ Claim Period, to the extent Cox finds such documents within its possession,

  custody, or control after undertaking a reasonable and diligent search.

         Notwithstanding the foregoing, Cox will not produce personally identifiable information,

  other than the IP address, for any person absent a subpoena, Court order, or other form of due

  process that affords any affected individual notice and an opportunity to challenge the disclosure

  of such information. Cox is willing to meet and confer in good faith with Plaintiffs to determine

  a reasonable procedure and scope for this request.



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  REQUEST NO. 40

          All documents concerning monitoring, review or inspection of your internet services for

  uses that violate your Acceptable Use Policy.

  RESPONSE TO REQUEST NO. 40

          Cox objects to this request as vague and ambiguous, overbroad, and unduly burdensome,

  and to the extent it seeks information that is outside the scope of permissible discovery because it

  is not relevant to any party’s claim or defense, including because Cox’s Acceptable Use Policy

  applies to conduct that lacks relevance to the claims or defenses of any party, and to the extent

  the request seeks documents outside Plaintiffs’ Claim Period. Cox further objects that this

  request is vague and ambiguous as to the compound phrase “monitoring, review or inspection of

  your internet services.” Cox will interpret this phrase to refer to monitoring of Cox’s ISP system.

  Cox further objects to this request to the extent it improperly seeks information protected from

  disclosure by the attorney-client privilege, work product doctrine, common interest privilege, or

  other applicable privilege or doctrine. Cox further objects to this request to the extent it seeks

  information not in Cox’s possession, custody, or control, information that is publicly available,

  or information that is equally available to Plaintiffs or that is exclusively in the control of

  Plaintiffs or third parties.

          Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  concerning Cox’s monitoring of its ISP system for copyright infringement during Plaintiffs’

  Claim Period, to the extent Cox finds such documents within its possession, custody, or control

  after undertaking a reasonable and diligent search.




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  REQUEST NO. 41

         All documents concerning any technological barriers or other means or mechanisms you

  considered or implemented to address, limit or prevent use of your internet services in violation

  of your Acceptable Use Policy, including but not limited to preventing copyright infringement by

  Subscribers or Users through the use of BitTorrent or Peer-to-Peer file sharing systems.

  RESPONSE TO REQUEST NO. 41

         Cox objects to this request as vague and ambiguous, overbroad, and unduly burdensome,

  and to the extent it seeks information that is outside the scope of permissible discovery because it

  is not relevant to any party’s claim or defense, including because Cox’s Acceptable Use Policy

  applies to conduct that lacks relevance to the claims or defenses of any party, and to the extent

  the request seeks documents outside Plaintiffs’ Claim Period. Cox further objects to this request

  to the extent that it is duplicative of other discovery requests that Plaintiffs have propounded,

  including Plaintiffs’ interrogatory no. 9. Cox further objects that this request is vague and

  ambiguous, in particular as the meaning of the terms “technological barriers” and “other means

  or mechanisms,” and fails to describe, with reasonable particularity, the items or categories of

  items to be produced for inspection. Cox further objects to this request to the extent it purports to

  require Cox to disclose trade secrets or other confidential or proprietary information before a

  protective order is entered, of such information owned by third parties. Cox further objects to

  this request to the extent it improperly seeks information protected from disclosure by the

  attorney-client privilege, work product doctrine, common interest privilege, or other applicable

  privilege or doctrine.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged document



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  sufficient to identify technological barriers that Cox implemented during Plaintiffs’ Claim Period

  to limit or prevent copyright infringement by Cox’s subscribers through the use of BitTorrent or

  peer-to-peer file sharing systems, to the extent Cox finds such documents within its possession,

  custody, or control after undertaking a reasonable and diligent search.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 41.

         Subject to and without waiving the foregoing general and specific objections, and as

  agreed during the parties’ meet and confer sessions, Cox further responds that it will also

  produce responsive, non-privileged documents sufficient to identify technological barriers that

  Cox considered to limit or prevent copyright infringement by Cox’s subscribers through the use

  of BitTorrent or peer-to-peer file sharing systems, to the extent Cox finds such documents within

  its possession, custody, or control after undertaking a reasonable and diligent search.

  REQUEST NO. 42

         All documents concerning the potential impact on your financial interests, including but

  not limited to lost fees or revenues, in the event you terminated internet service to Subscribers or

  Users accused of copyright infringement.

  RESPONSE TO REQUEST NO. 42

         Cox objects to this request as vague and ambiguous, over-broad, and unduly burdensome,

  and as seeking information that is outside the scope of permissible discovery because it is not

  relevant to any party's claim or defense, including to the extent the request seeks documents

  outside Plaintiffs’ Claim Period. Cox further objects to this request to the extent that it is

  duplicative of other discovery requests that Plaintiffs have propounded, including Plaintiffs’

  interrogatory no. 8. Cox further objects that this request is vague and ambiguous, in particular as

  the meaning of the term “potential impact” and “financial interests,” and fails to describe with


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  reasonable particularity the items or categories of items to be produced for inspection. Cox

  further objects to this request to the extent it improperly seeks information protected from

  disclosure by the attorney-client privilege, work product doctrine, common interest privilege, or

  other applicable privilege or doctrine. Cox further objects to this request as premature as it

  purports to require Cox to disclose individuals, documents, or things inconsistent with the

  Federal Rules of Civil Procedure, including Federal Rule of Civil Procedure 26(a)(2), the Local

  Rules of this Court, and rules and orders of this Court.

            Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  concerning potential lost fees or revenues if it terminated internet service to subscribers accused

  of copyright infringement during Plaintiffs’ Claim Period, to the extent Cox finds such

  documents within its possession, custody, or control after undertaking a reasonable and diligent

  search.

  REQUEST NO. 43

            Documents sufficient to show the number of Subscribers per month against whom you

  have taken any action or implemented any measures in response to an Infringement Notice,

  including but not limited to suspension or termination.

  RESPONSE TO REQUEST NO. 43

            Cox objects to this request as vague and ambiguous, over-broad, and unduly burdensome,

  and as seeking information that is outside the scope of permissible discovery because it is not

  relevant to any party's claim or defense, including in its use of the undefined terms “action” and

  “measure,” and to the extent the request seeks documents outside Plaintiffs’ Claim Period. Cox

  objects that this request calls for information that would be more properly requested through a


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  standard interrogatory, and further objects to this request because it impermissibly seeks to

  circumvent the discovery limitations set by Rule 33(a)(1) of the Federal Rules of Civil

  Procedure.

          Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  sufficient to show the number of suspensions or terminations of Cox subscribers in response to

  notices of claimed infringement of Plaintiffs works in suit, sent on behalf of Plaintiffs during

  Plaintiffs’ Claim Period, by month, to the extent Cox finds such documents within its possession,

  custody, or control after undertaking a reasonable and diligent search.

  REQUEST NO. 44

          Documents sufficient to show all terms of use and terms of service provided to

  Subscribers.

  RESPONSE TO REQUEST NO. 44

          Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including to the

  extent the request seeks documents outside Plaintiffs’ Claim Period, and to the extent particular

  terms of use or terms of service do not concern copyright infringement and lack relevance to this

  case. Cox further objects to this request to the extent it seeks information that is publicly

  available, or that is equally available to Plaintiffs.

          Subject to and without waiving the foregoing general and specific objections, Cox will

  produce responsive, non-privileged documents sufficient to show Cox’s terms of use or terms of

  service for its residential ISP service that were in effect during Plaintiffs’ Claim Period.




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  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 44.

         Subject to and without waiving the foregoing general and specific objections, and as

  agreed during the parties' meet and confer sessions, Cox further responds that it will produce

  responsive, non-privileged documents, to the extent Cox finds such documents within its

  possession, custody, or control after undertaking a reasonable and diligent search.

  REQUEST NO. 45

         All documents concerning any changes to Defendants’ terms of use or terms of service

  relating to copyright infringement or allegations of copyright infringement.

  RESPONSE TO REQUEST NO. 45

         Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including to the

  extent the request seeks documents outside Plaintiffs’ Claim Period. Cox further objects to this

  request to the extent it seeks information that is publicly available, or that is equally available to

  Plaintiffs. Cox further objects that this request is overbroad and unduly burdensome, in particular

  in seeking “all documents” concerning “any changes.” Cox further objects to this request to the

  extent it improperly seeks information protected from disclosure by the attorney-client privilege,

  work product doctrine, common interest privilege, or other applicable privilege or doctrine.

         Subject to and without waiving the foregoing general and specific objections, Cox will

  produce responsive, non-privileged documents sufficient to show changes during Plaintiffs’

  Claim Period to Cox’s terms of use or terms of service for its residential ISP service.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 45.

         Subject to and without waiving the foregoing general and specific objections, and as



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  agreed during the parties' meet and confer sessions, Cox further responds that it will produce

  responsive, non-privileged documents sufficient to show changes to Cox’s terms of use or terms

  of service, to the extent Cox finds such documents within its possession, custody, or control after

  undertaking a reasonable and diligent search.

  REQUEST NO. 46

          All documents supporting, refuting, or otherwise concerning your affirmative defenses or

  other defenses in this case.

  RESPONSE TO REQUEST NO. 46

          Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, and as overbroad,

  unduly burdensome, and vague and ambiguous in seeking “all documents” “concerning” Cox’s

  affirmative defenses. Cox further objects that this request fails to describe, with reasonable

  particularity, the items or categories of items to be produced for inspection. Cox further objects

  to this request to the extent it seeks information that is not in Cox’s possession, custody, or

  control, that is publicly available, or that is in Plaintiffs’ possession, custody, or control or

  otherwise equally available to Plaintiffs. Cox further objects to this request to the extent it

  improperly seeks information protected from disclosure by the attorney-client privilege, work

  product doctrine, common interest privilege, or other applicable privilege or doctrine.

          Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents that it

  intends to rely on to support its affirmative defenses.




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  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 46

            Subject to and without waiving the foregoing general and specific objections, and as

  agreed during the parties' meet and confer sessions, Cox further responds that it will produce

  responsive, non-privileged documents supporting or refuting Cox’s affirmative defenses, to the

  extent that such documents do not concern legal conclusions, and to the extent Cox finds such

  documents within its possession, custody, or control after undertaking a reasonable and diligent

  search.

  REQUEST NO. 47

            All communications concerning the DMCA.

  RESPONSE TO REQUEST NO. 47

            Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including to the

  extent the request seeks documents outside Plaintiffs’ Claim Period, and because the DMCA is

  not at issue in this case. Cox further objects that this request is overbroad and unduly

  burdensome, including in seeking “all communications” and in seeking information about “the

  DMCA” without identifying any particular provision or subsection of 17 U.S.C. § 512, such that

  the request fails to describe, with reasonable particularity, the items or categories of items to be

  produced for inspection. Cox further objects to this request to the extent it improperly seeks

  information protected from disclosure by the attorney-client privilege, work product doctrine,

  common interest privilege, or other applicable privilege or doctrine. Cox further objects to this

  request to the extent it seeks information not in Cox’s possession, custody, or control, and to the

  extent it seeks information that is publicly available, or that is equally available to Plaintiffs.

            Subject to and without waiving the foregoing general and specific objections, Cox


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  responds that it is willing to meet and confer in good faith with Plaintiffs to determine a

  reasonably tailored scope for this request.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 47

          Subject to and without waiving the foregoing general and specific objections, Cox further

  responds that it will produce responsive, non-privileged documents sufficient to show Cox’s

  written DMCA policies, to the extent Cox finds such documents within its possession, custody,

  or control after undertaking a reasonable and diligent search.

  REQUEST NO. 48

          All documents concerning Plaintiffs.

  RESPONSE TO REQUEST NO. 48

          Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including to the

  extent it seeks documents outside Plaintiffs’ Claim Period, and to the extent it seeks information

  unrelated to this case or Plaintiffs’ works in suit, and fails to describe, with reasonable

  particularity, the items or categories of items to be produced for inspection. Cox further objects

  to this request to the extent it improperly seeks information protected from disclosure by the

  attorney-client privilege, work product doctrine, common interest privilege, or other applicable

  privilege or doctrine. Cox further objects to this request to the extent it seeks information that is

  publicly available, or that is equally available to Plaintiffs.

          Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  concerning infringement of Plaintiffs’ works in suit during Plaintiffs’ Claim Period that Cox




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  finds within its possession, custody, or control after undertaking a reasonable and diligent search.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 48

          Subject to and without waiving the foregoing general and specific objections, Cox further

  responds that in addition to providing documents concerning notices of claimed infringement of

  Plaintiffs’ works in suit during Plaintiffs’ Claim Period, which Cox has already agreed to do,

  Cox will also agree to produce other types of responsive, non-privileged documents, exclusive of

  notices of claimed infringement submitted on behalf of third parties or outside Plaintiffs’ Claim

  Period, to the extent Cox finds such documents within its possession, custody, or control after

  undertaking a reasonable and diligent search.

  REQUEST NO. 49

          Documents sufficient to show your total and average revenues and profits, by year and

  quarter, from January 1, 2010 to present.

  RESPONSE TO REQUEST NO. 49

          Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including to the

  extent it seeks documents outside Plaintiffs’ Claim Period, and because Cox’s revenues unrelated

  to its ISP service lack relevance to this litigation. Cox further objects that this request is

  overbroad and unduly burdensome and seeks information outside the scope of permissible

  discovery because it is not proportional to the needs of the case, considering the importance of

  the issues at stake in the action, the importance of the discovery in resolving the issues, and

  whether the burden or expense of the proposed discovery outweighs its likely benefit. Cox

  further objects to this request to the extent it purports to require Cox to disclose confidential or

  proprietary information before a protective order is entered. Cox further objects to this request to


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  the extent that it is duplicative of other discovery requests that Plaintiffs have propounded,

  including requests for production no. 50 and 51.

          Subject to and without waiving the foregoing general and specific objections, Cox

  responds that it is willing to meet and confer in good faith with Plaintiffs to determine a

  reasonably tailored scope for this request.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 49

          Subject to and without waiving the foregoing general and specific objections, Cox further

  responds that it has produced responsive, non-privileged documents reflecting Cox's calculations

  of revenues and costs for its residential telephony, television, and internet divisions for 2011-

  2014.

  REQUEST NO. 50

          Documents sufficient to show your total and average revenue and profits generated

  through provision of internet service, by year and quarter from January 1, 2010 to present,

  including a breakdown based on the different types of internet service provided.

  RESPONSE TO REQUEST NO. 50

          Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including to the

  extent it seeks documents outside Plaintiffs’ Claim Period, and to the extent the different types of

  internet service that Cox provides lack relevance to this litigation. Cox further objects to this

  request to the extent it purports to require Cox to disclose confidential or proprietary information

  before a protective order is entered. Cox further objects to this request to the extent that it is

  duplicative of other discovery requests that Plaintiffs have propounded, including requests for




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  production no. 49 and 51.

          Subject to and without waiving the foregoing general and specific objections, Cox

  responds that it is willing to meet and confer in good faith with Plaintiffs to determine a

  reasonably tailored scope for this request.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 50

          Subject to and without waiving the foregoing general and specific objections, Cox further

  responds that it has produced responsive, non-privileged documents reflecting Cox's calculations

  of revenues and costs for its residential telephony, television, and internet divisions for 2011-

  2014.

  REQUEST NO. 51

          Documents sufficient to show your total and average revenue and profits generated

  through provision of television and telephone service, by year and quarter from January 1, 2010

  to present, broken down by type of service provided.

  RESPONSE TO REQUEST NO. 51

          Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including

  because Cox’s television and telephone service is not at issue in this case and is not relevant to

  any claim or defense of any party, and to the extent the request seeks documents outside

  Plaintiffs’ Claim Period. Cox further objects that this request is vague and ambiguous, in

  particular as the meaning of the undefined term “generated,” and fails to describe, with

  reasonable particularity, the items or categories of items to be produced for inspection. Cox

  further objects to this request to the extent it purports to require Cox to disclose confidential or




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  proprietary information before a protective order is entered.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 51

          Subject to and without waiving the foregoing general and specific objections, Cox further

  responds that it has produced responsive, non-privileged documents reflecting Cox's calculations

  of revenues and costs for its residential telephony, television, and internet divisions for 2011-

  2014.

  REQUEST NO. 52

          Documents sufficient to show the number of Subscribers who also subscribe to your

  television and/or telephone service.

  RESPONSE TO REQUEST NO. 52

          Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including

  because Cox’s television and telephone service is not at issue in this case and is not relevant to

  any claim or defense of any party, and to the extent the request seeks documents outside

  Plaintiffs’ Claim Period.

          Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  sufficient to show the number of Cox internet subscribers who were the subject of a notice of

  claimed infringement submitted on Plaintiffs’ behalf for Plaintiffs’ works in suit during

  Plaintiffs’ Claim Period, and who also subscribed to Cox’s television or voice service, to the

  extent Cox finds such documents within its possession, custody, or control after undertaking a

  reasonable and diligent search .




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  REQUEST NO. 53

         Documents sufficient to show the average cost to you of obtaining a Subscriber and the

  costs associated with terminating a Subscriber’s internet service.

  RESPONSE TO REQUEST NO. 53

         Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including to the

  extent the request seeks documents outside Plaintiffs’ Claim Period. Cox further objects that this

  request fails to describe, with reasonable particularity, the items or categories of items to be

  produced for inspection. Cox further objects to this request to the extent it purports to require

  Cox to disclose confidential or proprietary information before a protective order is entered.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  sufficient to show the requested information concerning subscribers to Cox’s residential Internet

  service during Plaintiffs’ Claim Period, to the extent Cox finds such documents within its

  possession, custody, or control after undertaking a reasonable and diligent search.

  REQUEST NO. 54

         Documents sufficient to show your total and average revenue and profit from Subscribers

  for each level of internet service that you offer, by year and quarter from January 1, 2010 to

  present.

  RESPONSE TO REQUEST NO. 54

         Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including to the



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  extent the request seeks documents outside Plaintiffs’ Claim Period. Cox further objects that this

  request fails to describe, with reasonable particularity, the items or categories of items to be

  produced for inspection. Cox further objects to this request to the extent it purports to require

  Cox to disclose confidential or proprietary information before a protective order is entered.

          Subject to and without waiving the foregoing general and specific objections, Cox

  responds that it is willing to meet and confer in good faith with Plaintiffs to determine a

  reasonably tailored scope for this request.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 54

          Subject to and without waiving the foregoing general and specific objections, Cox further

  responds that it has produced responsive, non-privileged documents reflecting Cox's calculations

  of revenues and costs for its residential telephony, television, and internet divisions for 2011-

  2014.

  REQUEST NO. 55

          Documents sufficient to show your total and average revenue and profit per Subscriber

  for the life of the account, from January 1, 2010 to present.

  RESPONSE TO REQUEST NO. 55

          Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including to the

  extent the request seeks documents outside Plaintiffs’ Claim Period. Cox further objects that this

  request is vague and ambiguous, in particular as to the undefined term “the life of the account,”

  and phrases containing that term. Cox further objects that this request fails to describe, with

  reasonable particularity, the items or categories of items to be produced for inspection. Cox




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  further objects to this request to the extent it purports to require Cox to disclose confidential or

  proprietary information before a protective order is entered. Cox further objects to this request to

  the extent that it is duplicative of other discovery requests that Plaintiffs have propounded.

          Subject to and without waiving the foregoing general and specific objections, Cox

  responds that it is willing to meet and confer in good faith with Plaintiffs to determine a

  reasonably tailored scope for this request.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 55

          Subject to and without waiving the foregoing general and specific objections, Cox further

  responds that it has produced responsive, non-privileged documents reflecting Cox's calculations

  of revenues and costs for its residential telephony, television, and internet divisions for 2011-

  2014.

  REQUEST NO. 56

          Documents sufficient to show the average length of time you retain Subscribers.

  RESPONSE TO REQUEST NO. 56

          Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including to the

  extent the request seeks documents outside Plaintiffs’ Claim Period. Cox further objects that this

  request is vague and ambiguous, in particular as to the undefined term “the life of the account,”

  and phrases containing that term. Cox further objects that this request fails to describe, with

  reasonable particularity, the items or categories of items to be produced for inspection. Cox

  further objects to this request to the extent it purports to impose on Cox an obligation to create

  documents not otherwise in its possession, custody, or control. Cox further objects to this request




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  to the extent it purports to require Cox to disclose confidential or proprietary information before

  a protective order is entered. Cox further objects to this request to the extent that it is duplicative

  of other discovery requests that Plaintiffs have propounded, including Plaintiffs’ request for

  production nos. 53, 54, and 55.

          Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  sufficient to show the requested information during Plaintiffs’ Claim Period, to the extent Cox

  finds such documents within its possession, custody, or control after undertaking a reasonable

  and diligent search.

  REQUEST NO. 57

          Documents sufficient to show your total and average revenue and profit attributable to

  Subscribers about whom you received an Infringement Notice, including the per Subscriber

  revenue and profit by quarter and year, from January 1, 2010 to present.

  RESPONSE TO REQUEST NO. 57

          Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including to the

  extent it seeks documents outside Plaintiffs’ Claim Period. Cox further objects that this request is

  vague and ambiguous, in particular as to the undefined term “the life of the account,” and

  phrases containing that term. Cox further objects that this request fails to describe, with

  reasonable particularity, the items or categories of items to be produced for inspection. Cox

  further objects to this request to the extent it purports to impose on Cox an obligation to create

  documents not otherwise in its possession, custody, or control. Cox further objects to this request

  to the extent it purports to require Cox to disclose confidential or proprietary information before


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  a protective order is entered. Cox further objects to this request to the extent that it is duplicative

  of other discovery requests that Plaintiffs have propounded, including Plaintiffs’ interrogatory

  no. 10.

            Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  sufficient to show the total and average revenue and profit during Plaintiffs’ Claim Period that

  was attributable to subscribers who were the subject of a notice of claimed infringement

  submitted on Plaintiffs’ behalf for Plaintiffs’ works in suit during Plaintiffs’ Claim Period, to the

  extent Cox finds such documents within its possession, custody, or control after undertaking a

  reasonable and diligent search.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 57

            Subject to and without waiving the foregoing general and specific objections, Cox further

  responds that it has produced responsive, non-privileged documents reflecting Cox's calculations

  of revenues and costs for its residential telephony, television, and internet divisions for 2011-

  2014.

  REQUEST NO. 58

            Documents sufficient to show your total number of Subscribers in the United States by

  type of service (i.e., internet, television, telephone).

  RESPONSE TO REQUEST NO. 58

            Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including

  because the request seeks information about subscribers not alleged to have infringed Plaintiffs’




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  copyrights, because Cox’s television and telephone service is not at issue in this case and is not

  relevant to any claim or defense of any party, because the total number of Cox’s subscribers

  lacks relevance to Plaintiffs’ claims or Plaintiffs’ works in suit, and to the extent the request

  seeks documents outside Plaintiffs’ Claim Period.

  REQUEST NO. 59

          Documents sufficient to show the number of homes passed by your network (i.e., the

  number of households with potential to receive your services, including internet services).

  RESPONSE TO REQUEST NO. 59

          Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including

  because the request seeks information about subscribers not alleged to have infringed Plaintiffs’

  copyrights, because Cox’s television and telephone service is not at issue in this case and is not

  relevant to any claim or defense of any party, because the total number of Cox’s subscribers

  lacks relevance to Plaintiffs’ claims or Plaintiffs’ works in suit, and to the extent the request

  seeks documents outside Plaintiffs’ Claim Period. Cox further objects that this request is vague

  and ambiguous, in particular as the meaning of the term “potential to receive your services,” and

  to the extent it purports to require Cox to speculate concerning the “potential” of third parties.

  Cox further objects to this request to the extent it seeks information Cox does not know and

  cannot readily obtain after a reasonable inquiry, or that is not in Cox’s possession, custody, or

  control, or that is equally in Plaintiffs’ possession, custody, or control.

  REQUEST NO. 60

          Documents sufficient to show your penetration rates (i.e., the number of Subscribers

  divided by the numbers of households with the potential to receive your services) by type of


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  service (i.e., internet, television, telephone).

  RESPONSE TO REQUEST NO. 60

          Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including

  because the request seeks information about subscribers not alleged to have infringed Plaintiffs’

  copyrights, because Cox’s television and telephone service is not at issue in this case and is not

  relevant to any claim or defense of any party, and to the extent the request seeks documents

  outside Plaintiffs’ Claim Period. Cox further objects that this request is vague and ambiguous, in

  particular as the meaning of the term “potential to receive your services,” and to the extent it

  purports to require Cox to speculate concerning the “potential” of third parties. Cox further

  objects to this request to the extent it seeks information Cox does not know and cannot readily

  obtain after a reasonable inquiry, or that is not in Cox’s possession, custody, or control, or that is

  equally in Plaintiffs’ possession, custody, or control. Cox further objects to this request to the

  extent that it is duplicative of other discovery requests that Plaintiffs have propounded, including

  Plaintiffs’ request for production no. 59.

  REQUEST NO. 61

          Documents sufficient to show on a quarterly and annual basis your Subscriber churn rate

  (i.e., the number of Subscribers whose service is discontinued for any reason, including

  cancellation of termination).

  RESPONSE TO REQUEST NO. 61

          Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including

  because the request seeks information about subscribers not alleged to have infringed Plaintiffs’


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  copyrights, because the request fails to define the term “service” and Cox’s television and

  telephone service is not at issue in this case lacks relevance, and to the extent the request seeks

  documents outside Plaintiffs’ Claim Period.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  sufficient to show the requested information for subscribers to Cox’s residential ISP service

  during Plaintiffs’ Claim Period, to the extent Cox finds such documents within its possession,

  custody, or control after undertaking a reasonable and diligent search.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 61

         Subject to and without waiving the foregoing general and specific objections, and as

  agreed during the parties' meet and confer sessions, Cox will produce responsive, non-privileged

  documents sufficient to show the requested information during Plaintiffs’ Claim Period, to the

  extent Cox finds such documents within its possession, custody, or control after undertaking a

  reasonable and diligent search.

  REQUEST NO. 62

         Documents sufficient to show your pricing for each of the different levels of internet

  services you offer Subscribers.

  RESPONSE TO REQUEST NO. 62

         Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including

  because the request seeks information about subscribers not alleged to have infringed Plaintiffs’

  copyrights, because the request fails to define the term “service” and Cox’s television and




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  telephone service is not at issue in this case lacks relevance, and to the extent the request seeks

  documents outside Plaintiffs’ Claim Period.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order Cox will produce responsive, non-privileged documents

  sufficient to show the requested information for Cox’s residential ISP service during Plaintiffs’

  Claim Period, to the extent Cox finds such documents within its possession, custody, or control

  after undertaking a reasonable and diligent search.

  FIRST SUPPLEMENTAL RESPONSE TO REQUEST NO. 62

         Subject to and without waiving the foregoing general and specific objections, and as

  agreed during the parties' meet and confer sessions, Cox further responds that it will produce

  responsive, non-privileged documents sufficient to show the requested information during

  Plaintiffs’ Claim Period, to the extent Cox finds such documents within its possession, custody,

  or control after undertaking a reasonable and diligent search.

  REQUEST NO. 63

         Documents sufficient to identify any expert witnesses you may call as a witness at any

  trial or hearing in this lawsuit or that may submit an expert report in this case, including the

  expert witnesses’ curriculum vitae, contact information, employment history, testifying

  experience, publications, and the topics on which that the witnesses will testify or opine.

  RESPONSE TO REQUEST NO. 63

         Cox objects that this request fails to describe, with reasonable particularity, the items or

  categories of items to be produced for inspection. Cox further objects to this request as premature

  as it purports to require expert disclosures before they are required, and to the extent it purports




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  to require Cox to disclose individuals, documents, or things inconsistent with the Federal Rules

  of Civil Procedure, including Federal Rule of Civil Procedure 26(a)(2), the Local Rules of this

  Court, and rules and orders of this Court. Cox will produce documents to the extent and on the

  schedule provided by the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the

  Local Rules, and applicable rules and orders of this Court.

          Subject to and without waiving the foregoing general and specific objections, Cox will

  produce responsive, non-privileged documents, if any, to the extent and on the schedule provided

  by the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the Local Rules, and

  applicable rules and orders of this Court.

  REQUEST NO. 64

          All documents that you may use as exhibits in the trial or any hearing in this lawsuit.

  RESPONSE TO REQUEST NO. 64

          Cox objects that this request fails to describe, with reasonable particularity, the items or

  categories of items to be produced for inspection. Cox further objects to this request as

  premature, and to the extent it purports to require Cox to disclose documents outside the

  requirements of the Federal Rules of Civil Procedure, the Local Rules of this Court, and rules

  and orders of this Court. Cox further objects to this request to the extent it seeks information not

  in Cox’s possession, custody, or control, including information that is in Plaintiffs’ possession,

  custody, or control; or is publicly available; or is equally available to Plaintiffs; or is in the

  possession, custody, or control of third parties. Cox will not produce documents that are in

  Plaintiffs’ possession, custody, or control, or that have otherwise been obtained by or produced

  to Plaintiffs.

          Subject to and without waiving the foregoing general and specific objections, Cox will


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  produce responsive, non-privileged documents, if any, to the extent and on the schedule provided

  by the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the Local Rules, and

  applicable rules and orders of this Court.

  REQUEST NO. 65

         All documents concerning any subpoena you issue in this lawsuit, including all

  communications with the third-party concerning the subpoena and all documents you receive in

  response to a subpoena.

  RESPONSE TO REQUEST NO. 65

         Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense. Cox further

  objects that this request is premature, vague and ambiguous, because it seeks documents that do

  not currently exist and whose characteristics are unknown. To the extent Cox is required to

  produce documents in response to this request, Cox reserves the right to supplement its

  objections in light of the then-existing circumstances. Cox further objects to this request to the

  extent it purports to require Cox to disclose trade secrets or other confidential or proprietary

  information before a protective order is entered, or such information of third parties. Cox further

  objects to this request to the extent it may improperly seek information protected from disclosure

  by the attorney-client privilege, work product doctrine, common interest privilege, or other

  applicable privilege or doctrine. Cox will not produce such privileged or protected documents or

  information.

         Subject to and without waiving the foregoing general and specific objections, upon entry

  of an appropriate Protective Order and subject to its terms, Cox will produce documents

  produced in response to third party subpoenas it issues in this litigation.


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  REQUEST NO. 66

           All documents you identify or rely on in responding to Plaintiffs’ Interrogatories.

  RESPONSE TO REQUEST NO. 66

           Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense. Cox further

  objects that this request is premature, vague and ambiguous, because it seeks documents that do

  not currently exist and whose characteristics are unknown. To the extent Cox is required to

  produce documents in response to this request, Cox reserves the right to supplement its

  objections in light of then-existing circumstances. Cox further objects to this request to the extent

  it purports to require Cox to disclose trade secrets or other confidential or proprietary

  information before a protective order is entered, and to the extent it improperly seeks information

  protected from disclosure by the attorney-client privilege, work product doctrine, common

  interest privilege, or other applicable privilege or doctrine. Cox further objects to this request to

  the extent it seeks information that is publicly available, or that is equally available to Plaintiffs.

  Cox further objects to this request to the extent it purports to require Cox to disclose information

  that infringes on any individual’s right of privacy, whether protected under the United States or

  any state constitution, or federal or state statute, regulation, or common law, or otherwise.

           Subject to and without waiving the foregoing general and specific objections, Cox will

  produce responsive, non-privileged documents, if any, to the extent and on the schedule provided

  by Federal Rule of Civil Procedure 33(d), the Local Rules, and applicable rules and orders of this

  Court.




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  Dated: January 17, 2019                 s/ Michael S. Elkin
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                                    CERTIFICATE OF SERVICE



           I am a resident of the State of California, over the age of eighteen years, and not a party

  to the within action. My business address is Winston & Strawn LLP, 101 California Street, San

  Francisco, CA 94111-5840. On January 17, 2019, I served the following document:


           COX’S FIRST SUPPLEMENTAL RESPONSES TO PLAINTIFFS’ FIRST SET
           OF REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS TO
           DEFENDANTS

  pursuant to the written agreement of the parties to be served by electronic means, by email to

  Plaintiffs’ counsel as follows:


                  Jeffrey M. Gould, Oppenheim + Zebrak, LLP
                  Email: jeff@oandzlaw.com


           I declare under penalty of perjury under the laws of the State of California that the above

  is true and correct.



  Signed:
            Thomas J. Kearney

  Dated:    January 17, 2019




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